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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                  Case No.: 23-CV-21912-MORENO

   DANIEL HARPER, et al., on behalf of themselves
   and all others similarly situated,

           Plaintiffs,
   v.

   SHAQUILLE O’NEAL, et al.,

           Defendants.
                                                          /

        PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS
           ACTION SETTLEMENT, PROVISIONAL CERTIFICATION OF PROPOSED
           SETTLEMENT CLASS, AND APPROVAL OF THE PROPOSED SCHEDULE

           Plaintiffs 1 are proud to announce they have reached a proposed settlement (“Settlement”)
   for the class that provides full relief to all injured class members (“Settlement Class Members”).
   This Settlement was only reached after great efforts by mediator and retired Judge Howard Tescher,
   this Court’s expeditious supervision of the litigation, and the willingness of the Defendants to reach
   a fair and equitable compromise. A copy of the Settlement Agreement is attached as Exhibit A.
           Hundreds of thousands of Non-Fungible Tokens (“NFT”), issued by many different
   issuers, have been purchased by millions of customers during the crypto craze. Unfortunately,
   many of these NFTs have: (1) been found by courts to be “unregistered securities,” and (2) many
   of the issuing companies have gone bankrupt, leaving investors with tremendous losses.
   Thousands of Settlement Class Members in this action purchased alleged unregistered securities
   from Defendants, in the form of Astrals Non-Fungible Tokens (“Astrals NFT”) and Galaxy
   Tokens (“GLXY” and together with the Astrals NFTs, the “Astrals Financial Products”), which
   are now worth only a fraction of the price Settlement Class Members paid.
           Plaintiffs and Astrals LLC, Astrals Holding, LLC, and Astrals Operations LLC (the
   “Astrals Entities”), and Shaquille O’Neal (“O’Neal” and together with the Astrals Entities,

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    “Plaintiffs” means Daniel Harper, Daniel Koch, Micky Scott, Shaun Divecha, Timo Walter, and/or Viraf Sam
   Chapgar.

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   “Settling Defendants”) decided to mediate this matter and to settle all disputes in order to help
   investors. With the creativity, crypto experience, and guidance of Mediator Howard Tescher, the
   proposed Settlement is flexible so as to provide full relief to all Settlement Class Members under
   both common and statutory law. The Defendants have agreed to provide $11,000,000.00 of
   monetary relief by establishing a common fund (the “Settlement Cap”) from which all approved
   Class Member Claims, Administration Costs, general release payments, and Class Counsel Fees
   and Costs will be paid.
          Plaintiffs and the Settling Defendants (collectively, the “Parties”) retained the services of
   Strategic Claims Services (the “Claims Administrator”) to provide and serve notice to the class
   (the “Class Notice”) and to process and administer claims from Settlement Class Members. The
   Class Notice, attached hereto as Exhibit D, will provide the best notice practicable, consistent with
   the methods and tools employed in other court-approved notice programs, and will allow
   Settlement Class Members the opportunity to review a plain-language notice with the ability to
   easily take the next step and learn more about the litigation. The Class Notice will contain the
   mandatory disclosures of settlement terms as required by Federal Law, including Rule 23 of the
   Federal Rules of Civil Procedure and the Private Securities Litigation Reform Act of 1995 (the
   “PSLRA”). The Claims Administrator will develop a claims portal to be hosted at a domain name
   reasonably agreed upon by the Parties. Through the claims portal, claimants will be able to provide
   all necessary information required to file a claim, and the Claims Administrator will assess the
   claim and, if approved, distribute cash payments from the Settlement Cap fund. Settlement Class
   Members and Defendants will have adequate opportunity to contest the Claims Administrator’s
   decisions if those parties disagree with the Claims Administrator’s determinations.
          Plaintiffs, the proposed class representatives, therefore request that the Court: (1) grant
   preliminary approval of the Settlement; (2) grant certification of the proposed Settlement Class;
   (3) appoint Plaintiffs as Rule 23(c) class representatives; (4) appoint Adam Moskowitz of The
   Moskowitz Law Firm, PLLC (“Lead Class Counsel”), who was previously appointed lead
   counsel under the PSLRA, as lead class counsel pursuant to Fed R. Civ. P. 23(c)(1)(B) and 23(g);
   and (5) approve the proposed plan of notice to the Settlement Class pursuant to Fed. R. Civ. P.
   23(e). Settling Defendants do not oppose this motion.




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         I.       LITIGATION OVERVIEW
               Plaintiffs commenced this putative global class-action lawsuit entitled Daniel Harper, et
   al. v. Shaquille O’Neal, Case No.: 1:23-cv-21912-FAM (S.D. Fla.), on May 23, 2023 [ECF No.
   1].        Plaintiffs filed their Amended Complaint (“Amended Complaint”) [ECF No. 24] on
   September 7, 2023, clarifying the claims against O’Neal and asserting claims against the Astrals
   Entities. On September 13, 2023, the Court appointed Adam Moskowitz of The Moskowitz Law
   Firm as Lead Class Counsel and Plaintiffs—Daniel Harper, Daniel Koch, Micky Scott, Shaun
   Divecha, Viraf Chapgar, and Timo Walter—as lead plaintiffs pursuant to § 27 of the Securities Act
   of 1933 as amended by the PSLRA, finding them to be typical and adequate. ECF No. 30. The
   claims against the Settling Defendants are on behalf of a putative class of similarly situated
   individuals who purchased Astrals NFTs and GLXY tokens asserting that the Settling Defendants
   were sellers of these unregistered securities in violation of Sections 5 and 12(a)(1) of the Securities
   Act, 15 U.S.C. §§ 77e(a), 771(a)(1) and control persons in violation of Section 15 of the Securities
   Act.
               O’Neal moved to dismiss the Amended Complaint and strike the proposed expert opinion
   of Lee Reiners on September 29, 2023 [ECF No. 35], which motions the Astrals Entities later
   joined [ECF No. 47], and all Settling Defendants filed a Supplemental Motion to Dismiss on
   April 18, 2024 [ECF No. 83]. On August 16, 2024 the Court granted in part and denied in part
   Settling Defendants’ Motion to Dismiss [ECF No. 91]. First, the “Court denie[d] Defendants’
   Motion to Dismiss Count I as Plaintiffs have properly alleged that O’Neal is a ‘seller’ under
   Section 12.” ECF No. 91 at 4. In so ruling, the Court held that Plaintiffs “sufficiently alleged that
   Astrals [NFTs] and Galaxy tokens are ‘securities’ subject to federal securities laws.” Id. Second,
   the Court agreed with Settling Defendants that Plaintiffs’ Section 12 claims for purchase of Astrals
   NFTs on or before May 23, 2022 were time-barred (id. at 10-11), but held that the GLXY tokens
   claims were not time-barred, at least at the motion to dismiss stage, as Plaintiffs alleged GLXY
   purchases between March 10, 2022 and June 15, 2022 (id. at 11-13). Finally, the Court dismissed
   Plaintiffs’ Section 15 claims against O’Neal, holding that he was not a “control person.” Id. at 4.
               On August 16, 2024, the Court denied Settling Defendants’ Supplemental Motion to
   Dismiss, holding that Plaintiffs had “sufficiently pled facts concerning ‘the formation of contracts
   to buy or sell securities, the placement of purchase orders, the passing of titles, or exchanges of
   money, within the United States.’” ECF No. 95 at 2-3.


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             On September 12, 2024, Settling Defendants filed their Joint Answer and Affirmative
   Defenses, asserting various legal defenses to Plaintiffs’ claims. ECF No. 97. Most notably:
   Settling Defendants asserted that (i) the Astrals Financial Products are not securities; (ii) Plaintiffs’
   claims based on purchases on or before May 23, 2022 are time-barred; (iii) the federal securities
   laws do not apply to some or all of the sales of the Astrals Financial Products because those
   transactions were not U.S. domestic transactions; and (iv) some Plaintiffs’ and putative class
   members’ claims are barred by the in pari delicto doctrine, as those persons may also be “sellers”
   of the Astrals Financial Products.
             The Parties then began the discovery process, hiring vendors for data collection and
   scheduling preliminary depositions. The Parties then filed a Joint Motion for Brief Stay [ECF
   No. 105] while settlement discussions and mediation were ongoing. That motion was granted, and
   it stayed discovery until November 20, 2024. See ECF No. 106.
             Since then, Plaintiffs also became alerted to the fact that the Astrals Project is no longer an
   ongoing concern. Indeed, on October 30, 2024, Astrals announced on their Discord that “the
   financial strain has become substantial. Legal fees have exceeded our initial expectations, and the
   case has stretched on longer than anticipated.” Astrals added that “bankruptcy now appears
   inevitable. As a result, we will need to remove tokens from the liquidity pool provided by a third
   party. This has not been an easy decision, and it has placed a significant strain on all of our lives.”
       II.       SETTLEMENT CONSIDERATION
             In consideration for full and final settlement of the class claims asserted against the Settling
   Defendants in the Action, and in consideration of the Releases set forth therein, the Settling
   Defendants will be responsible for paying the Settlement Cap fund of no more than $11,000,000.
   In exchange for a full release of the claims against Settling Defendants and their related releasees
   (as defined in the Settlement Agreement), the Settlement Cap will be used to pay (i) valid claims
   approved by the Claims Administrator, after resolution of any objections to the Claims
   Administrator’s determinations, (ii) Plaintiffs’ attorneys’ fees and costs, (iii) the costs of
   administration of the claims and notice process, (iv) a broad, general release payment to Plaintiffs,
   and (v), to the extent there are remaining funds, pay a cy pres award to the non-profit organization
   Americans for Financial Reform.




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      III.      SETTLEMENT CLASS CERTIFICATION
             The Settlement requires conditional certification of the settlement class (“Settlement
   Class”) pursuant to Federal Rule of Civil Procedure 23(b)(3). The Parties agree that, for
   Settlement purposes only and pursuant to the terms of the Settlement, the Plaintiffs will serve as
   class representative plaintiffs, and Adam Moskowitz of The Moskowitz Law Firm, PLLC (“Lead
   Class Counsel”) will serve as lead class counsel pursuant to Federal Rules of Civil Procedure
   23(c) and 23(g).
             A. The Settlement Class
             The Settlement Class is “All persons or entities (i) who, from May 24, 2022 to the date of
   preliminary approval, purchased Astrals NFTs and/or who, (ii) who, before the date of preliminary
   approval, purchased GLXY Tokens.” See Ex. A at ¶ 10. Excluded from the Settlement Class are
   (i) the Settling Defendants and their officers, directors, affiliates, legal representatives, and
   employees, (ii) any governmental entities, any judge, justice, or judicial officer presiding over this
   matter and the members of their immediate families and judicial staff, and (iii) any Person who
   would otherwise be a Class Member but who validly requested exclusion pursuant to the “Opt-
   Out” provisions set forth in Exhibit A ¶ 13. Id.
             B. Final Approval Hearing
             Should the Court grant preliminary approval pursuant to the Settlement, Lead Class
   Counsel requests that the Court set a final approval hearing at a date that comports with a schedule
   agreed to by the Parties and described below.
             C. Objections
             The Settlement provides that a Settlement Class Member may object to the Settlement. To
   object, the Settlement Class Member must comply with the procedures and deadlines approved by
   the Court. Any Class Member who wishes to object to the Settlement must do so in writing on or
   before the Objection Deadline, as specified in the Class Notice and the proposed Preliminary
   Approval Order (attached as Exhibit B). The written objection must be filed with the Clerk of
   Court and received by Lead Class Counsel and Settling Defendants’ Counsel no later than forty-
   five days (45) from the date the Class Notice is published (the “Objection/Exclusion Deadline”).
   The requirements to assert a valid written objection shall be set forth in the Class Notice.




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            D. Class Counsel Fees and Expenses
            Lead Class Counsel and their co-counsel (collectively “Class Counsel”) plan to petition
   the Court for reimbursement of attorneys’ fees and costs (“Class Counsel Fees and Costs”). Class
   Counsel shall not seek Class Counsel Fees and Costs in an aggregate amount that exceeds
   $2,910,000. Any attorneys’ fees payment shall be paid from the Settlement Cap fund. Class
   Counsel’s motion for Class Counsel Fees and Costs shall be filed no later than fourteen (14) days
   before the Objection/Exclusion Deadline.
            Further, each of the Plaintiﬀs has agreed to sign in his or her individual capacity a broad,
   general release in favor of the Settling Defendants in exchange for a payment of $15,000, to be
   paid separate and apart from any approved claims paid out of the Settlement Cap fund. The release
   payments will be paid out of the Cost and Fees Payment.
      IV.      THE PROPOSED               SETTLEMENT            SHOULD       BE       PRELIMINARILY
               APPROVED
            A. Standards for Preliminary Approval of a Proposed Settlement
            A class action may be settled only with the approval of the Court. See Fed. R. Civ. P.
   23(e)(1). �e Rule 23(e) settlement approval procedure has three principal steps: (1) preliminary
   approval of the proposed settlement; (2) dissemination of notice of the settlement to all aﬀected
   Settlement Class Members; and (3) a ﬁnal approval determination following a fairness hearing at
   which Settlement Class Members may be heard regarding the settlement, and at which counsel
   may introduce evidence and present arguments concerning the fairness, adequacy, and
   reasonableness of the settlement. See 4 William B. Rubenstein, Albert Conte & Herbert Newberg,
   Newberg on Class Actions §§ 13:39 et seq. (5th ed. 2014).
            Rule 23(e)(1), as amended in 2018, provides that notice should be given to the class, and
   hence preliminary approval should be granted, where the Court “will likely be able to” (i) ﬁnally
   approve the settlement under a Rule 23(e)(2), and (ii) certify the class for settlement purposes.
   Fed. R. Civ. P. 23(e)(1)(B)(i)–(ii); see also id. 2018 Amendment Advisory Committee Notes.
   Under Rule 23(e)(1)(B)(i), ﬁnal approval is proper upon a ﬁnding that the settlement is “fair,
   reasonable, and adequate” after considering whether:
            (A) the class representatives and class counsel have adequately represented the class;
            (B) the proposal was negotiated at arm’s length;
            (C) the relief provided for the class is adequate, taking into account:
                   (i) the costs, risks, and delay of trial and appeal;
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                  (ii) the eﬀectiveness of any proposed method of distributing relief to the class,
                      including the method of processing class-member claims;
                  (iii) the terms of any proposed award of attorney’s fees, including timing of
                      payment; and
                  (iv) any agreement required to be identiﬁed under Rule 23(e)(3); and
          (D) the proposal treats class members equitably relative to each other.
   Fed. R. Civ. P. 23(e).
          To grant preliminary approval, the Court should determine whether the proposed settlement
   substantively falls “within the range of possible approval” or reasonableness. Encarnacion v. J.W.
   Lee, Inc., No. CV 14-61927, 2015 WL 12550747, at *1 (S.D. Fla. June 30, 2015) (unpublished);
   see also, 4 Albert Conte & Herbert Newberg, Newberg on Class Actions § 11.25 (4th ed. 2002).
   �e Court should approve a proposed class action settlement where it is “fair, adequate and
   reasonable and is not the product of collusion between the parties.” Saccoccio v. JP Morgan Chase
   Bank, N.A., 297 F.R.D. 683, 691 (S.D. Fla. 2014) (citing Bennett v. Behring Corp., 737 F.2d 982,
   986 (11th Cir. 1984). “Preliminary approval is appropriate where the proposed settlement is the
   result of the parties’ good faith negotiations, there are no obvious deﬁciencies and the settlement
   falls within the range of reason.” Smith v. Wm. Wrigley Jr. Co., No. 09-cv-60646, 2010 WL
   2401149, at *2 (S.D. Fla. Jun. 15, 2010). Settlement negotiations involving arm’s length, informed
   bargaining with the aid of experienced counsel support a preliminary ﬁnding of fairness. See
   Manual for Complex Litig. § 30.42 (“A presumption of fairness, adequacy, and reasonableness
   may attach to a class settlement reached in arm’s-length negotiations between experienced, capable
   counsel after meaningful discovery.”) (internal quotation marks omitted). Public policy favors
   settlements, particularly where complex class action litigation is concerned. In re Equifax Inc.
   Customer Data Sec. Breach Litig., 999 F.3d 1247, 1273 (11th Cir. 2021). �e proposed Settlement
   here satisﬁes the standard for preliminary approval because: (1) Plaintiﬀs and Lead Class Counsel
   have adequately represented the class; (2) the Settlement is the product of arm’s-length
   negotiations between the parties and (3) the Settlement is adequate, as it is very reasonable,
   especially when considering the risks involved in litigating the case to trial; and (4) the Settlement
   treats the Settlement Class Members equitably relative to each other.
                  1. �e Class Has Been Adequately Represented
          �e adequacy inquiry is two-fold. First, the Court must assure itself that the named

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   representatives will adequately and diligently represent the class members’ interests and that no
   potential conﬂicts in interest will interfere with this representation. Hansberry v. Lee, 311 U.S. 32,
   42–43 (1940). Plaintiﬀs are members of the Settlement Class and do not possess any interests
   antagonistic to the Class. Both Plaintiﬀs and the Settlement Class Members allegedly purchased
   Astrals Products, which are allegedly unregistered securities, from the Settling Defendants.
          Second, the Court must determine that the class’s attorneys will adequately represent the
   class’s interests. Class Counsel are experienced in class-action litigation and in cryptocurrency-
   related class-action litigation, and their ﬁrms’ CVs highlight their skills and experience. See ECF
   No. 15 at 12 n.10. Copies of Class Counsel’s CVs are attached hereto as Exhibit C. Because
   Plaintiﬀs and their counsel have devoted substantive time and resources to this litigation and have
   adequately represented their clients’ interests, the adequacy requirement is satisﬁed.
                    2. �e Settlement Is the Product of Arm’s-Length Negotiations
          Where a settlement is the product of arm’s-length negotiations conducted by capable and
   experienced counsel, the court begins its analysis with a presumption that the settlement is fair and
   reasonable. See 4 Newberg § 11.41; see also Morgan v. Pub. Storage, 301 F. Supp. 3d 1237, 1247
   (S.D. Fla. 2016). Here, the Settlement was reached after informed, extensive arm’s-length
   negotiations between experienced counsel, and multiple mediation sessions with an experienced
   and respected mediator, Howard Tescher. See Lee v. Ocwen Loan Servicing, LLC, No. 14-CV-
   60649, slip op. at 25-26 (S.D. Fla. Sept. 14, 2015) (approving settlement and noting that parties’
   use of a highly respected mediator supported the conclusion that the settlement was not the product
   of collusion).
          �e Settling Defendants were represented by experienced counsel. �e monetary relief
   aﬀorded by the Settlement also presents the best possible outcome considering the costs and risks
   of continued litigation. �e Settlement was reached after an extensive investigation into the factual
   underpinnings of the practices challenged in the civil action, as well as the applicable law, and
   after the Court ruled on contested dispositive motions. In addition to their pre-ﬁling eﬀorts, Class
   Counsel engaged in extensive research, including the review of documents, facts and testimony
   provided by the Lead Plaintiﬀs. Nothing in the course of the negotiations or in the substance of
   the proposed Settlement presents any reason to doubt the Settlement’s fairness.




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                  3. �e Settlement Is Fair, Reasonable, and Adequate
          Plaintiﬀs seek class-wide relief from the Settling Defendants, who were allegedly sellers
   of now virtually worthless NFTs and cryptocurrency tokens, which Plaintiﬀs allege are
   unregistered securities. O’Neal is a famous public ﬁgure who was involved in the Astrals project
   and the sale of Astrals Financial Products. �e Astrals Entities were the team involved in the
   Astrals project and in the sale of the Astrals Financial Products. In exchange for release of the
   claims against them, the Settling Defendants have agreed to provide cash payments of full recovery
   to each eligible Settlement Class Member on a “claims-made” basis until the $11 million
   Settlement Cap is reached.
              a. �e Risks, Costs, and Delay of Continued Litigation
          The proposed Settlement provides an excellent recovery, especially in light of the inherent
   risks of litigation, the Court’s partial dismissal of Plaintiﬀs’ Section 12(a)(1) claims (ECF No. 91
   at 4), and the current dire ﬁnancial condition of the Astral entities. Almost all class actions involve
   a high level of risk, expense, and complexity, which is one reason that judicial policy so strongly
   favors resolving class actions through settlement—“there is an overriding public interest in settling
   class action litigation, and it should therefore be encouraged.” In re Warfarin Sodium Antitrust
   Litig., 391 F.3d 516, 535 (3d Cir. 2004); see also In re U.S. Oil & Gas Litig., 967 F.2d 489, 493
   (11th Cir. 1992) (“Public policy strongly favors the pretrial settlement of class action lawsuits”).
   �is is not only a complex case, but it is in an especially risky ﬁeld of litigation involving unsettled
   and novel legal theories—NFT-based securities litigation.
          Plaintiffs would face significant obstacles and risk an unsuccessful outcome if this case
   were to proceed through full written discovery, depositions, class certification, summary judgment,
   trial, and a potential appeal. Among the most hotly contested issues in this litigation were the
   parties’ disagreements as to (i) whether the Astrals Financial Products are securities; (ii) whether
   Settling Defendants can be held liable as “sellers” of the Astrals Financial Products; (iii) whether
   claims arising from purchases of GLXY tokens made on or before May 23, 2022 are time-barred;
   (iv) whether Plaintiffs’ claims can be adjudicated on a class-wide basis; and (v) whether sales of
   the GLXY tokens were domestic transactions under Morrison v. National Australia Bank Ltd., 561
   U.S. 247 (2010). Although the Court permitted some of Plaintiffs’ claims to proceed to discovery,
   there are still many hurdles to recovery, including a contested class-certification proceeding,



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   dispositive motion practice, and trial. If unsuccessful, the Settlement Class could receive no
   recovery at all.
           Plaintiffs also became alerted to the fact that the Astrals Project is no longer an ongoing
   concern. Indeed, on October 30, 2024, Astrals announced on their Discord that “the financial strain
   has become substantial. Legal fees have exceeded our initial expectations, and the case has
   stretched on longer than anticipated.” Astrals further cautioned that “bankruptcy now appears
   inevitable. As a result, we will need to remove tokens from the liquidity pool provided by a third
   party. This has not been an easy decision, and it has placed a significant strain on all of our lives.”
   Accordingly, the risks inherent in this case strongly support settlement at this stage of the litigation.
           Further, in considering a proposed class settlement, “[t]he recommendations of plaintiﬀs’
   counsel should be given a presumption of reasonableness.” In re Blue Cross Blue Shield Antitrust
   Litig., No. 2:13-CV-20000-RDP, 2020 WL 8256366, at *26 (N.D. Ala. Nov. 30, 2020). Here, Class
   Counsel endorses the Settlement as fair, adequate, and reasonable. Class Counsel have extensive
   experience litigating and settling consumer class actions and other complex matters and have
   conducted an extensive investigation into the factual and legal issues raised in this action. Class
   Counsel have weighed the beneﬁts of the Settlement against the inherent risks and expense of
   continued litigation, and they strongly believe that the proposed Settlement is fair, reasonable, and
   adequate. �e fact that qualiﬁed and well-informed counsel endorse the Settlement as being fair,
   reasonable, and adequate weighs in favor of approving the Settlement.
                 b. �e Method of Distributing Relief Is Eﬀective
           Settlement relief will be distributed via a straight-forward electronic claims process.
   Payments for approved claims in which Settlement Class Members provide blockchain-veriﬁable
   transaction information, such as their public wallet address and the transaction hash related to their
   purchase of Astrals Financial Products, will be distributed as soon as practicable after approval.
   Ex. A § 13.
                 c. �e Terms Relating to Class Counsel Fees and Costs Are Reasonable
           Attorneys’ fees, costs, and expenses were negotiated separate and apart from, and after
   reaching agreement on, the relief for the Settlement Class.            Upon ﬁnal approval, Settling
   Defendants will pay up to $3 million for various costs and payments (the “Costs and Fees
   Payment”), including approved attorneys’ fees and payments to the Claims Administrator, leaving
   up to $8 million for all approved claims made by Settlement Class Members. Ex. A § 16. Plaintiﬀs


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   will seek Class Counsel Fees and Costs of up to $2,910,000 (up to approximately 26.5% of the
   Settlement Cap). All costs and expenses, including all costs and fees paid to the Claims
   Administrator and those associated with the Class Notice, will be paid from the $3 million Costs
   and Fees Payment. Id. �e Costs and Fees Payment, in whatever amount set by the Court, is to
   be paid no later than 21 days after the ﬁling of this motion. Id. However, if the Costs and Fees
   Payment is not approved or is only partially approved by the Court, Settling Defendants are entitled
   to reimbursement from Plaintiﬀs and Class Counsel. Id.
           While the reasonableness of Class Counsel’s request for Class Counsel Fees and Costs will
   be addressed in a separate motion, “district courts in the Eleventh Circuit routinely approve fee
   awards of one-third of the common settlement fund.” Hanley v. Tampa Bay Sports & Ent. LLC,
   No. 8:19-CV-550-CEH-CPT, 2020 WL 2517766, at *6 (M.D. Fla. Apr. 23, 2020) (citing Wolﬀ v.
   Cash 4 Titles, No. 03-22778, 2012 WL 5290155, at *6 (S.D. Fla. Sept. 26, 2012) (collecting cases
   and concluding 33% is consistent with the market rate in class actions)); Waters v. Int'l Precious
   Metals Corp., 190 F.3d 1291, 1295-96 (11th Cir. 1999) (aﬃrming attorneys’ fee award of 33 1/3%
   to class counsel). Accordingly, a request for no more than 26.5% of the Settlement Cap is likely
   reasonable.
           Further, the $15,000 payment to each of the Plaintiﬀs in exchange for a broad, general
   release in their individual capacity in favor of the Settling Defendants is permissible in this District.
   See Sinkfield v. Persolve Recoveries, LLC, 2023 WL 511195, at *3 (S.D. Fla. Jan. 26, 2023)
   (approving settlement where class representative was paid, not as “a salary, a bounty, or both,” but
   in exchange for agreeing to a broad release of claims); Tweedie v. Waste Pro of Fla., Inc., No. 8:19-
   CV-1827-AEP, 2021 WL 5843111, at *11 (M.D. Fla. Dec. 9, 2021) (approving additional
   compensation for general release waiving all claims against defendants). 2
               d. �e Agreements Required to be Identiﬁed by Rule 23(e)(3)
           �ere is one agreement outside of the Settlement Agreement that must be identiﬁed by Rule
   23(e)(3). �e conﬁdential Supplemental Agreement Concerning Termination �reshold among the
   Settling Parties (“Supplemental Agreement”) sets forth certain conditions regarding the number
   and value of opt-out claims that, if triggered, give the Settling Defendants the option to terminate


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           Specifically, the Plaintiffs have agreed to release Defendants from potential Nevada state-
   law unjust-enrichment claims that, if not for the settlement agreement, they would have asserted
   against Defendants.
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   the Settlement Agreement. Such “blow provisions” are properly kept conﬁdential: “�e threshold
   number of opt outs required to trigger the blow provision is typically not disclosed and is kept
   conﬁdential to encourage settlement and discourage third parties from soliciting class members to
   opt out.” In re HealthSouth Corp. Sec. Litig., 334 F. App’x 248, 250 n.4 (11th Cir. 2009).
                  4. �e Settlement Class Members Are Treated Equitably Relative to Each
                     Other.
          �e last requirement of the Rule 23(e) is that the Settlement “treats class members equitably
   relative to each other.” Fed. R. Civ. P. 23(e)(2)(D). Here, the Settlement treats Settlement Class
   Members equitably because all Settlement Class Members are eligible for reimbursement of losses
   tied to their purchase of Astrals Financial Products (calculated by subtracting the sale price
   received, if any, for the Astrals Financial Products from the purchase price paid for the Astrals
   Financial Products).
              B. Certification of the Proposed Settlement Class Is Appropriate
          �e Parties agree that, for purposes of settlement only, the Settlement Class should be
   deﬁned as follows: “All persons or entities (i) who, from May 24, 2022 to the date of preliminary
   approval, purchased Astrals NFTs and/or who, (ii) who, before the date of preliminary approval,
   purchased GLXY Tokens.” �e Class meets the requirement of class certiﬁcation set forth in Rule
   23(a) and Rule 23(b)(3).
                  1. Rule 23(a) Is Satisﬁed
                      a. �e Members of the Settlement Class Are Too Numerous to Permit
                         Joinder
          A case may be certiﬁed as a class action for settlement purposes only if “the class is so
   numerous that joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). While there is
   no ﬁxed rule, numerosity is generally presumed when the potential number of class members
   reaches forty (40). Cnty. of Monroe, Fla. v. Priceline.com, Inc., 265 F.R.D. 659, 667 (S.D. Fla.
   2010) (citing Newberg & Conte, Newberg on Class Actions, § 3.5 at 247 (4th ed.2002) (“as few
   as 40 class members should raise a presumption that joinder is impracticable and the plaintiﬀ
   whose class is that large or larger should meet the test of Rule 23(a)(1) on that fact alone”)). Here,
   numerosity is readily satisﬁed. �e total number of Class members is estimated to be in the
   thousands, as there are 10,000 Astrals NFTs and millions of GLXY tokens.




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                      b. �is Action Presents Common Questions of Law or Fact
          Rule 23(a)(2) requires that there be one or more questions common to the class. WalMart
   Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2556 (2011). To establish a settlement class, Plaintiﬀs need
   only show the existence of a common question of law or fact that is signiﬁcant and capable of
   class-wide resolution. In re Fla. Cement & Concrete Antitrust Litig., No. 09-23187-CIV, 2012 WL
   27668, at *3 (S.D. Fla. Jan. 3, 2012) (unpublished). Here, commonality is present for the purposes
   of establishing a settlement class, as the claims of the entire class depend on whether the Astrals
   Financial Products are securities. In addition, Plaintiﬀs contend that the Settling Defendants’
   conduct amounts to successful solicitation such that the Settling Defendants are statutory sellers
   or control persons under the law, through their conduct as alleged. �us, because the resolution of
   at least one of these issues allegedly will aﬀect all proposed Settlement Class Members,
   commonality under Rule 23 (a)(2) is satisﬁed.
                      c. Plaintiﬀs’ Claims Are Typical.
          Rule 23(a)(3) requires that “the claims and defenses of the representative parties are typical
   of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “�e typicality requirement is met
   if the claims of the named plaintiﬀs ‘stem from the same event, practice, or course of conduct that
   forms the basis of the class claims and are based upon the same legal or remedial theory.’” Gibbs
   Properties Corp. v. CIGNA Corp., 196 F.R.D. 430, 435 (M.D. Fla. 2000) (quoting, Walco Invs.,
   Inc. v. Thenen, 168 F.R.D. 315, 326 (S.D. Fla. 1996)). “�e key inquiry in determining whether a
   proposed class has ‘typicality’ is whether the class representative is part of the class and possesses
   the same interest and suﬀers the same injury as the class members.” Medine v. Washington Mut.,
   FA, 185 F.R.D. 366, 369 (S.D. Fla. 1998).
          Here, the typicality requirement is satisﬁed for purposes of certifying a settlement class for
   the same reasons that Plaintiﬀs’ claims meet the commonality requirement at this stage. Plaintiﬀs’
   claims are typical of those of the Settlement Class because both Plaintiﬀs and the Settlement Class
   Members purchased the allegedly unregistered Astrals Financial Products. Moreover, while not
   determinative of adequacy for purposes of approving a settlement class, the proposed lead
   plaintiﬀs needed to “satisfy the requirements of Rule 23” in order to be appointed as lead plaintiﬀs
   under the PSLRA. 15 U.S.C. § 78u-4(a)(3)(B)(iii)(cc). �e analysis performed in connection with
   approving a lead plaintiﬀ includes a preliminary determination of typicality and adequacy. See
   Steppacher v. Alﬁ, Inc., 2022 WL 1115049, at *6 (S.D. Fla. Apr. 13, 2022). In appointing Adam


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   Moskowitz of �e Moskowitz Law Firm, PLLC as Lead Class Counsel, the Court wrote, Plaintiﬀs
   “are the most typical … Lead Plaintiﬀs to represent the interest of the Classes,” suggesting
   Plaintiﬀs are typical Settlement Class Members at least for settlement purposes. Id. at 2.
                      d. Plaintiﬀs and �eir Counsel Will Fairly and Adequately Protect the
                         Interests of the Settlement Class Members.
          Rule 23(a)(4) requires that the representative plaintiﬀs “fairly and adequately” protect the
   interests of the class. �e two-prong test for determining adequacy is: “(1) whether any substantial
   conﬂicts of interest exist between the representatives and the class; and (2) whether the
   representatives will adequately prosecute the action.” Valley Drug Co. v. Geneva Pharmaceuticals,
   Inc., 350 F.3d 1181, 1189 (11th Cir. 2003).
          As noted above, both prongs are satisﬁed here. First, Plaintiﬀs and the Settlement Class
   Members are equally interested in recovering as much of their property and/or recovering damages
   from the Settling Defendants. �eir interests are directly aligned, as evidenced by the fact that
   Plaintiﬀs have vigorously prosecuted this case for the beneﬁt of all Settlement Class Members by
   ﬁling the underlying action, reviewing pleadings, and conferring with Class Counsel. Accordingly,
   the Plaintiﬀs will fairly and adequately protect the interests of all Settlement Class Members.
   Second, though not determinative of adequacy at this stage, the Court previously concluded when
   appointing lead plaintiﬀs and lead counsel that Plaintiﬀs were adequate class representatives and
   that Lead Class Counsel was adequate class counsel. ECF No. 30 at 2. Finally, Class Counsel
   have extensive experience litigating and settling class actions, including consumer fraud cases
   throughout the United States. Class Counsel are well-qualiﬁed to represent the Settlement Class.
   Copies of Class Counsel’s Resumes are attached hereto as Exhibit C.
          2. �e Requirements of Rule 23(b)(3) Are Satisﬁed.
          For settlement purposes, the proposed Settlement Class satisﬁes Rule 23(b)(3), which
   permits certifying a class for settlement purposes if the Court ﬁnds that “questions of law or fact
   common to class members predominate over any questions aﬀecting only individual members, and
   that a class action is superior to other available methods for fairly and eﬃciently adjudicating the
   controversy.” Fed. R. Civ. P. 23(b)(3). For settlement purposes, the claims asserted against the
   Settling Defendants involve common issues of law and fact that predominate over any individual
   issues. �e Settlement resolves alleged unregistered securities claims regarding the alleged sale
   of the Astrals Financial Products, obviating the need to litigate whether the Astrals Financial
   Products are securities, whether the Settling Defendants’ conduct amounts to being a seller, and
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   the potentially individualized issue of whether Settling Defendants successfully solicited the
   Settlement Class Members’ alleged securities purchases.
           Rule 23(b)(3)’s other requirement is that class resolution must be “superior to other
   available methods for fairly and eﬃciently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).
   �e purpose of the superiority requirement is consistent with the overall goals of Rule 23, which
   are to assure that the class action is the most eﬃcient, eﬀective, and economic means of settling
   the controversy. Walco Invs., Inc. v. Thenen, 168 F.R.D. 315, 337 (S.D. Fla. 1996). �at is the case
   here, where the Settlement obviates the need for potentially thousands of trials with respect to
   several issues, including causation and damages. Resolution of the Settlement Class Members’
   claims via the Settlement avoids the diﬃculty in eﬃciently managing such a large number of trials.
   Further, the relatively low amount of money at issue for each individual class member supports a
   ﬁnding of superiority. Accordingly, the Settlement Class should be certiﬁed for settlement
   purposes.
      V.       THE PROPOSED CLASS NOTICE TO THE SETTLEMENT CLASS SHOULD
               BE APPROVED
           Should the Court grant preliminary approval, it must also “direct notice in a reasonable
   manner to all class members who would be bound by the proposal. . . .” Fed. R. Civ. P. 23(e)(1)(B).
   Notice should be the best notice practicable under the circumstances. Fed. R. Civ. P. 23(c)(2)(B);
   see also Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985) (same). Under Rule 23(b)(3),
   the notice must be “the best notice that is practicable under the circumstances, including individual
   notice to all members who can be identiﬁed through reasonable eﬀort.” Fed. R. Civ. P. 23(c)(2)(B).
   �e notice should adequately describe the substantive claims and information reasonably necessary
   for class members to decide whether to object to the settlement, whether to exclude themselves
   from it, or whether to remain in the class member, reap the beneﬁts of the settlement, and be bound
   by the ﬁnal judgment. See Adams v. Southern Farm Bureau Life Ins. Co., 493 F.3d 1276, 1286
   (11th Cir. 2007). Here, the Class Notice will be published on a Settlement Website and through
   digital notice, the most practicable method of reaching the largest number of Astrals NFT and
   GLYX holders; the Class Notice will also be published in a variety of crypto-related industry
   publications, on the Astrals Discord page (where Astrals previously published updates about the
   Astrals Financial Products), and individual notice will be sent via email to all Settlement Class
   Members with email addresses reasonably available to the Settling Parties (the “Notice Plan”).
   �e Notice Plan provides the best notice practicable under the circumstances. Fed. R. Civ. P.
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   23(c)(2)(B).
          �e forms and methods set forth herein of notifying the Settlement Class Members of the
   Settlement and its terms and conditions meet the requirements of due process, federal law, and
   Rule 23 of the Federal Rules of Civil Procedure; constitute the best notice practicable under the
   circumstances; and constitute due and suﬃcient notice to all persons and entities entitled thereto.
   See, e.g., Griﬃn v. Benefytt Techs., Inc., No. 20-CV-62371-AHS, 2023 WL 8354936, at *2-*3
   (S.D. Fla. Dec. 1, 2023) (preliminarily approving notice plan where notice was posted on a
   settlement website and sent by e-mail and mail where possible). In other cryptocurrency-related
   class action settlements, where, as here, the parties do not have access to all class members’ names,
   addresses, and email addresses, courts have approved similar notice plans. See, e.g., Balestra v.
   ATBCOIN LLC, No. 17-CV-10001 (VSB), 2022 WL 950953, at *5 (S.D.N.Y. Mar. 29, 2022)
   (holding that notice plan published on “Lead Counsel’s ﬁrm website, on a leading blockchain news
   and media outlet called CoinDesk.com, and on a Reddit forum dedicated to” the coin in question
   “constitutes the best notice practicable under the circumstances, and meets the requirements of due
   process,” as defendants stated they “are unlikely to have names, e-mails, or physical addresses for
   potential class members”); Hunichen v. Atonomi LLC, No. C19-0615-RAJ-SKV, 2021 WL
   5854964, at *11 (W.D. Wash. Nov. 12, 2021) (approving notice plan in cryptocurrency-related
   class-action settlement involving “direct emailing of notice to all class members and supplemental
   notice through social media publication and a press release, all with links to a website containing
   the long form notice, documents about the case, an electronic claim form, and contact information
   for the designated administrator”), report and recommendation adopted, No. 19-0615-RAJ-SKV,
   2022 WL 4131590 (W.D. Wash. Sept. 12, 2022).
          �e Class Notice will provide background about the claims in the Action, the terms of the
   Settlement, the potential recoveries available to eligible Settlement Class Members, the Plan of
   Allocation, Lead Class Counsel’s application for Class Counsel Fees and Costs, and Plaintiﬀs’
   application for Plaintiﬀs General Release Payments. �e Class Notice also will disclose the date,
   time and location of the Fairness Hearing and the deadlines for seeking exclusion and submitting
   Claims and any objections to the Settlement, the Plan of Allocation, or to the applications for
   attorney’s fees and expenses and General Release Payments. �e Class Notice will comply with
   the PSLRA and with Fed. R. Civ. P. 23. �ese disclosures are thorough and should be approved.



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            �e Class Notice is attached here as Exhibit D. �e speciﬁc form of the Notice approved
   by the Court will then be disseminated in accordance with the Notice Plan.
            Settlement Website
            �e Claims Administrator will develop and deploy the informational case-speciﬁc website
   where Settlement Class Members may obtain more information about the settlement. �e Class’s
   proposed notice plan satisﬁes the fairness standards set forth in Rule 23. �e proposed notice is
   the best practicable under the circumstances. �e notice is reasonably calculated under the
   circumstances to apprise the Settlement Class of the pendency of the Action, class certiﬁcation,
   the terms of the Settlement, their rights to opt-out of the Settlement Class and object to the
   Settlement and/or Class Counsel’s Fee Application. See In re Checking Acct. Overdraft Litig., 275
   F.R.D. 654, 662 (S.D. Fla. 2011). �e Class Notice presents all required categories of information
   clearly and in plain English. See Adams, 493 F.3d at 1286. �e Class Notice is therefore
   substantively suﬃcient.
      VI.      CONCLUSION
            Plaintiﬀs respectfully request that the Court: (1) grant preliminary approval of the
   Settlement; (2) grant preliminary approval of the Proposed Settlement Class; (3) appoint Plaintiﬀs
   as Rule 23(c) class representatives; (4) appoint Adam Moskowitz of �e Moskowitz Law Firm,
   PLLC as Lead Class Counsel pursuant to Fed R. Civ. P. 23(c)(1)(B) and 23(g); and (5) approve the
   proposed Notice Plan pursuant to Fed. R. Civ. P. 23(e). A proposed Preliminary Approval Order
   is attached hereto as Exhibit B, a proposed ﬁnal Order Approving Class-Action Settlement is
   attached hereto as Exhibit E, and a proposed Judgment is attached hereto as Exhibit F.




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   Dated: November 18, 2024
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                                   CERTIFICATE OF SERVICE

          I certify that a true and correct copy of the forgoing was filed on November 18, 2024, via

   the Court’s CM/ECF system, which will send notification of such filing to all attorneys of record.


                                                       By: /s/ Adam Moskowitz
                                                               Adam Moskowitz




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